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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                     CRIMINAL MINUTES - SENTENCING AND JUDGMENT

                                         (   Amended                                                )
Case No.          CR 11-833(A)-JST                                                                 Date      March 29, 2013

Present: The Honorable     JOSEPHINE STATON TUCKER, U.S. DISTRICT JUDGE
            Terry Guerrero                      Deborah Parker                                    Patrick Fitzgerald and Judith Heinz
             Deputy Clerk                   Court Reporter/Recorder                                     Assistant U.S. Attorney

               Defendant          Custody Bond         Counsel for Defendant       Retd. DFPD Panel                   Interpreter
                                                         Alan Eisner and
      Oytun Ayse Mihalik             /       G            Errol Stambler             /      G       G                  NONE

PROCEEDINGS:              SENTENCING AND JUDGMENT HEARING                             G Contested          /      Non-Evidentiary
                          Day       (if continued from a prior hearing date)
  Refer to Judgment and Probation/Commitment Order; signed copy attached hereto.                      / Refer to separate Judgment Order.
  Imprisonment for Years/months            on each of counts
  Count(s)                                 concurrent/consecutive to count(s)
  Fine of $                                is imposed on each of count(s) concurrent/consecutive.
       Execution/Imposition of sentence as to imprisonment only suspended on count(s)
  Confined in jail-type institution for                                              to be served on consecutive days/weekends
       commencing
  years/months Supervised Release/Probation imposed on count(s)
  consecutive/concurrent to count(s)
  under the usual terms & conditions (see back of Judgment/Commitment Order) and the following additional terms and conditions, under
  the direction of the Probation Office:
       Perform                                           hours of community service.
       Serve                                             in a CCC/CTC.
       Pay             $                                 fine amounts & times determined by P/O.
       Make            $                                 restitution in amounts & times determined by P/O.
       Participate in a program for treatment of narcotic/alcohol addiction.
       Pay any fine imposed by this sentence & that remains unpaid at commencement of community supervision. Comply with
       rules/regulations of ICE, if deported not return to U.S.A. illegally and upon any reentry during period of supervision report to the
       nearest P/O within 72 hours.
       Other conditions:
  Pursuant to Section 5E1.2(e), all fines are waived, including costs of imprisonment & supervision. The Court finds the defendant
  does not have the ability to pay.
                                           per count, special assessment to the United States for a
  Pay       $                              total of                                                       $
  Imprisonment for months/years            and for a study pursuant to 18 USC
  with results to be furnished to the Court within       days/months                 whereupon the sentence shall be subject to
  modification. This matter is set for further hearing on
/ Government's motion, all remaining count(s)/underlying indictment/information, ordered dismissed.
/ Defendant informed of right to appeal.
  ORDER sentencing transcript for Sentencing Commission.                   Processed statement of reasons.
  Bond exonerated                       upon surrender                     upon service of
  Execution of sentence is stayed until 12 noon,
  at which time the defendant shall surrender to the designated facility of the Bureau of Prisons, or, if no designation made, to the
  U.S. Marshal.
  Defendant ordered remanded to/released from custody of U.S. Marshal forthwith.
  Filed and distributed judgment. ENTERED.
  Other
                                                                                                            1         :       20
                                                                           Initials of Deputy Clerk tg




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